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                 EXHIBIT "A"
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                Triumph Structures -                                                                                       AS9100 Registered
                                                                                                                         ISO 9001 Registered
                    Angel e
                A Triumph Group Company

                              MUTUAL CONFIDENTIALITY AGREEMENT

              In connection with possible transactions between Triumph Structures-Los Angeles, Inc. and
             Velaiquez_, whereby each party may supply products and/or services to the other party, each
       party may provide the other party with certain information pertaining to _TriumphStruCtures;
       Everett Inc. which is either non-public, confidential, or proprietary in nature concerning its products
       and processes. All information furnished to the party, including any and all designs, specifications,
       plans, drawings, data, report, analysis, studies, test results, and other such information, whether in
       documentary or electronic format, which contain or otherwise reflect such information, is
       hereinafter referred to as the "Proprietary Information", The purpose of this agreement (the
      "Agreement") is to set forth the understandings between the Parties concerning the Proprietary
      Information. Accordingly, in consideration of one party furnishing the other party with the
      Proprietary Information, the Parties agree that:
               1.    Proprietary Information exchanged under this agreement shall not, without the
      disclosing party's prior written consent, be disclosed by the receiving party, or by its affiliates,
      agents, representatives, or employees in any manner whatsoever, in whole or in part, and shall be
      used by .the.receiving party or its affiliates, agents, representatives or employees, solely for the
      purpose of evaluating whether to enter into further agreement with the disclosing party for the
      supply of products and/or services. Moreover, the receiving party agrees to reveal the Proprietary
      Information only to its affiliates, agents, representatives and employees who need to know the
      Proprietary Information and who are informed by receiving party of the confidential nature of the
      Proprietary Information.
              2,      Upon the disclosing party's request, the receiving party will promptly return to the
      disclosing party all Proprietary Information furnished to receiving party, in whatever format, and
      will destroy all analyses, compilations, studies, and other material prepared by receiving party based
      in whole or in part on such Proprietary Information. Receiving party shall not use any of the
      Proprietary Information for any purpose other than as provided herein without the prior written
      consent of the disclosing party.
               3.       This agreement shall not apply to information which:
                        (a)      is already known by the receiving party prior to the date
                                 of this Agreement as shown by clear and convincing evidence;
                        (b)      is or becomes publicly known through no
                                 wrongful act of receiving party; or
                        (c)      is disclosed pursuant to a requirement of



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                             a governmental agency or disclosure
                        (d)  is required by operation of law.
             4.     The disclosing party has endeavored to include in the Proprietary Information those
      materials which it believes to be reliable and relevant for the purpose of its evaluation by receiving
      party. Receiving party acknowledges that the disclosing party makes no representation or warranty
      as to the accuracy or completeness of the Proprietary Information and receiving party agrees that
      neither the disclosing party nor any of its affiliates nor any of its or their agents, representatives or
      employees shall have any liabi ity to the receiving party or its representatives resulting from the use
      or content of the Proprietary Information except as may be set forth in a subsequent agreement
      between the parties for products or services.
              5.      In the event that receiving party or anyone to whom receiving party transmits the
      Proprietary Information pursuant to this Agreement becomes legally compelled to disclose any of
      the Proprietary Information, receiving party will provide the disclosing party with prompt written
      notice so that it may seek a protective order or other appropriate remedy and/or waive compliance
      with the provisions of this Agreement. In the event that such protective order or other remedy is not
      obtained, or that Triumph waives compliance with the provisions of this Agreement, receiving party
      may disclose such Proprietary • Information to the extent compelled to do so without liability
      hereunder. Receiving party agrees that it will use reasonable efforts to obtain assurances that
      confidential treatment will be accorded to such information.
             6.       Receiving party agrees that money damages would not be a sufficient remedy for any
      breach of this Agreement by receiving party or its affiliates, agents, representatives or employees,
      and that in addition to all other remedies, the disclosing party shall be entitled to specific
      performance and injunction or other equitable relief as a remedy for any such breach.
               7.     This Agreement shall remain effective for a period of --;;120..440-- -; however
      the parties' obligation to keep information released under terms of the agreement confidential shall
      survive for a period of            Months/ Years following the documentable date of the given
      information's disclosure.
             8.       This Agreement embodies all the understandings and agreements heretofore had
      between the parties with respect to the subject matter hereof and may not be changed or terminated
      in advance of its expiration, except by an instrument in writing signed by the parties. In case any
      provision of this Agreement shall be invalid, illegal, or unenforceable, the validity, legality and
      enforceability of the remaining provisions of the Agreement shall not in any way be affected or
      impaired thereby.




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             The foregoing accurately sets forth the entire agreement between the parties for non-
      disclosure, indicated by the parties signing this Agreement in the space indicated below


      For Triumph                                                   For (.:rifer other Party),




                                                                    Date:
                                                                               6--/6-/G




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                                                                          Employee
                              iinumph Strunges                          Confidentiality
                                Los Angeles, Inc.                         Agreemei it
                                  ADiumpliGroupCompany
                                                   EMPLOYEE STATEMENT



                I,     a,rib 'Vela                    , in consideration of my employment by
      Triumph Group Inc. or one aits affiliated companies, and the compensation to be paid to me,
      and intending to be legally bound agree as follows:

                1. Definitions. The term "Triumph" as used in this Agreement includes Triumph
      Group, Inc. and all of its divisions, subsidiaries and affiliates, including the above-named
      companies.

                2. Disclosure of Confidential Information. I shall not at any time during my
     employment or thereafter, except as properly required in the course of my employment, use,
     publish, disclose or authorize anyone else to use, publish or disclose any Confidential
     InformatiOn belonging or relating to Triumph. Confidential Information includes, but is not
     limited to, models, drawings, blueprints, memoranda and other materials, documents or records
     of a proprietary nature; information relating to research, manufacturing processes, bills of
     material, finance, accounting, sales, personnel management and operations; and information
     particularly relating to customer lists, price lists, customer service requirements, costs of
     providing service and equipment, pricing and equipment maintenance costs.

                3. Use and Return of Company Property. I shall not, in the course of my
     employment or thereafter, use or permit others to use materials, equipment or other Triumph
     property for personal purposes. Further, I shall not make copies of, resell or transfer any
     computer software owned or licensed by Triumph. On termination of my employment, I will
     deliver to Triumph all property belonging to Triumph, and will not retain any copies or
     reproductions of correspondence, reports, drawings, photographs or documents containing
     Confidential Information or relating in any way to the business of Triumph.

                 4. Patents, Copyrights and Trade Secrets. I will disclose and hereby assign to
     Triumph any and all material of a proprietary nature, particularly including, but not limited to,
     material subject to protection as trade secrets or as patentable or copyrightable ideas which I may
     conceive, invent, or discover during the course of my employment with Triumph (including
     employment prior to the date hereof, if any) which relate to the business of Triumph, or were
     developed using Triumph's resources (collectively, the Alnventions@), and I shall execute and
     deliver all papers, including applications for patents and do such other acts (entirely at
     Triumph' s expense) as may be necessary for Triumph to obtain and maintain proprietary rights
     in any and all countries and to vest title to such Inventions in Triumph.
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                5. Term; Modifications. THE PROVISIONS OF THIS AGREEMENT SHALL
      SURVIVE TERMINATION OF MY EMPLOYMENT RELATIONSHIP WITH TRIUMPH.
      This Agreement may be modified or waived only by a written instruments signed by an officer or
      other authorized executive of Triumph.

                 6. Severability. The provisions of this Agreement shall be deemed severable, and
      the invalidity or unenforceability of any provision shall not affect the validity and enforceability
      of the other provisions hereof. If any provision of this Agreement is unenforceable for any
      reason whatever, such provision shall be appropriately limited and given effect to the extent that
      it may be enforceable.

               7. Governing Law. This Agreement shall be governed by and construed in
      accordance with the laws of the State of California applicable to contracts executed and
      performed exclusively in such State.



                     I HAVE READ THIS AGREEMENT AND FULLY UNDERSTAND ITS TERMS.

                     Signature

                    Signed at La                         1   c          , this :day of   _e   , 20(11i
                    Witness:                     1
                                                                   a ile(4




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